       3:21-cv-03548-JFA         Date Filed 10/29/21       Entry Number 1        Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

 Cinda Barnes,                            )        Case No.     CA 3:21-3548-JFA
                                          )        (formerly Civil Action No. 2021CP4004886)
                                          )
                               Plaintiff, )
                                          )
                   v.                     )
                                          )                 NOTICE OF REMOVAL
 Target Corporation, John Doe 1 and       )
 John Doe 2,                              )
                                          )
                            Defendants. )


TO:    THE UNITED STATES COURT:

       Defendant, Target Corporation, would respectfully show the Court in support of its Notice

of Removal that:

       1.      The Summons and Complaint in this action were filed on September 29, 2021 in the

Court of Common Pleas for Richland County, South Carolina. Attached for the Court are copies of

Plaintiff’s Summons and Complaint. The Complaint is the first pleading served upon the Defendant

in this action and service was affected on October 4, 2021. Therefore, removal is timely under 28

U.S.C. §1446(b).

       2.      The United States District Court has jurisdiction over this action pursuant to 28 U.S.C.

§1332. The Plaintiff is a resident and citizen of the State of South Carolina; Defendant Target

Corporation is organized and incorporated in the State of Minnesota and has its principal place of

business in the State of Minnesota. The action has been brought by the Plaintiff against the Defendant

for the alleged accident which occurred in Richland County, South Carolina.

       3.      Venue is proper in this matter in the Columbia Division of this Court in accordance

with 28 U.S.C. §1441(a).
       3:21-cv-03548-JFA          Date Filed 10/29/21       Entry Number 1        Page 2 of 2




       4.      Upon information and belief, the amount in controversy in this matter exceeds

$75,000.00 as Plaintiff alleges that while in the parking lot at Defendant’s store, she tripped and fell

on spilled liquid in the store aisle and sustained serious personal injuries, requiring her to expend

monies for hospitalizations, surgery, doctor’s care and other medical necessities; having suffered

much pain and suffering, permanent impairment of health and bodily efficiency; has suffered and will

continue to suffer great pain and mental anguish, loss of enjoyment of life, lost wages, and loss of

income, trauma, anxiety, annoyance, whole body impairment and inconvenience. Upon information

and belief, Plaintiff has demanded $450,000 to settle this action.

       5.      Defendant has filed no pleadings in this action with the Court of Common Pleas for

the State of South Carolina in response to this Complaint; however, Defendant’s Answer to the

Plaintiff’s Complaint is filed herewith contemporaneously.

       6.      Defendant has furnished a copy of this Notice of Removal to the Clerk of Court

for Lexington County.


                                               Respectfully submitted,

                                               SWEENY, WINGATE & BARROW, P.A.


                                               s/ Mark S. Barrow
                                               Mark S. Barrow Fed. I.D. No. 1220
                                               Ryan C. Holt Fed. I.D. No. 10736
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                                               Columbia, SC 29211
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                                               ATTORNEYS FOR THE DEFENDANT
                                               TARGET CORPORATION

Columbia, South Carolina

October 29, 2021
